Photo 2.4 IHNC between Claiborne and Florida Avenue Bridges. Note there has been
additional excavation along the floodwall waterfront and trailers present along floodwall
at the North Breach area. Photo was taken in February, 2004. (Air photo provided by
the Natural Resources Conservation Service of the U.S. Department of Agriculture.)

Photo 2.5 Infrared photograph of IHNC between Claiborne and Florida Avenue Bridges.
Photograph indicates that isolated low spots are present in the floodwall waterfront
ground surface adjacent to the North Breach and South Breach. The photograph is dated
February 2004. (Air photo provided by the Natural Resources Conservation Service of the
U.S. Department of Agriculture.)
